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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                      §   CHAPTER 11
                                            §
MONTCO OFFSHORE, INC., et al.,              §   CASE NO. 17-31646
                                            §
          DEBTORS.                          §   (Jointly Administered)

                    AMENDED NOTICE OF SCHEDULED RULE 2004
                        EXAMINATION TO LEE ORGERON

TO:      LEE ORGERON, by and through his attorney of record Vince Paul Slusher, Drinker
         Biddle & Reath LLP, 1717 Main Street, Ste. 5400, Dallas, Texas 75201.

          Please take notice that, pursuant to Southern District of Texas Bankruptcy Local Rules

 2004-1 and 9013-1(a), Aqueos Corporation (the “Aqueos”) a secured creditor in the above

 bankruptcy case Montco Offshore, Inc. (“MOI”) and Montco Oilfield Contractors, LLC

 (“MOC,” and collectively with MOI, the “Debtors”), by and through the undersigned Jacinto’s

 counsel, intends to take the examination of Lee Orgeron, beginning at 2:00 p.m. on Monday,

 October 30, 2017, at the offices of Kilmer Crosby & Walker PLLC, 712 Main Street, Ste. 1100,

 Houston, Texas 77002, or at a time and place to be mutually agreed upon. This examination

 will take place before a certified court reporter and may also be videotaped. Your counsel is

 invited to attend and cross-examine.
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DATED: October 18, 2017                      Respectfully submitted,

                                             KILMER CROSBY & WALKER PLLC
                                             /s/ Brian A. Kilmer
                                             Brian A. Kilmer
                                             Texas Bar No. 24012963
                                             bkilmer@kcw-lawfirm.com
                                             712 Main Street, Ste. 1100
                                             Houston, Texas 77002
                                             Telephone: 713.300.9662
                                             Fax: 214.731.3117

                                             COUNSEL FOR AQUEOS CORPORATION



                             CERTIFICATE OF CONFERENCE

         In compliance with Local Rule 2004-1 of the Local Rules of the United States
Bankruptcy Court for the Southern District of Texas, I certify that counsel for Debtors has agreed
to this deposition date and time.


                                                            _/s/ Brian A. Kilmer____
                                                            Brian A. Kilmer


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 18th day of October, 2017, a true and correct
copy of the foregoing document was filed with the Court and served electronically upon those
parties and/or their counsel of record registered to receive electronic notice via the Court’s
CM/ECF system.



                                                            _/s/ Brian A. Kilmer____
                                                            Brian A. Kilmer
